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 9
10                                 UNITED STATES DISTRICT COURT
11                                CENTRAL DISTRICT OF CALIFORNIA
12
13 EDWARDO MUNOZ, individually and on               Case No. 2:18-cv-03893 RGK (AGR)
   behalf of all others similarly situated,
14                                                  DEFENDANT 7-ELEVEN, INC.’S
15               Plaintiff,                         NOTICE OF CLARIFICATION
                                                    REGARDING DOCKET ENTRY 56
16                     vs.
17 7-ELEVEN, INC., a Texas corporation,
18                     Defendant.
19
20                                                  Complaint Filed:       May 9, 2018
                                                    First Am. Comp. Filed: July 9, 2018
21                                                  Trial Date:            July 2, 2019
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 1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2            Defendant 7-Eleven, Inc. (“7-Eleven”) hereby files this notice of clarification
 3 regarding the Court’s March 5, 2019 order issued as Docket No. 56, which states that
 4 “[t]he parties agreed at oral argument that discovery from class members is not needed
 5 for the merits of this case.”
 6            This statement is true in light of the Court’s October 18, 2018 order granting
 7 class certification in this matter, which accepted Plaintiff’s argument that class member
 8 discovery would not be necessary for the resolution of this case. However, 7-Eleven is
 9 filing this notice to clarify that it continues to respectfully disagree with the order
10 granting class certification in this matter, which rejected 7-Eleven’s arguments that
11 individual issues predominate because each class member would have to prove they
12 were in fact confused by the FCRA disclosure form at issue in order to establish a claim
13 for monetary relief. 7-Eleven continues to contend that the order should not have been
14 issued for these reasons, which are further stated in its opposition briefing to that
15 motion.
16
17 Dated: March 14, 2019                     CALL & JENSEN
                                             A Professional Corporation
18                                           Julie R. Trotter
                                             Kent R. Christensen
19                                           Delavan J. Dickson
20
21                                           By: /s/ Julie R. Trotter
                                                 Julie R. Trotter
22
                                             Attorneys for Defendant 7-Eleven, Inc.
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             DEFENDANT 7-ELEVEN, INC.’S NOTICE OF CLARIFICATION REGARDING DOCKET ENTRY 56
